Case 2:20-cv-00351-RGD-LRL Document 118-3 Filed 09/07/21 Page 1 of 5 PageID# 1936




                Exhibit C
Case 2:20-cv-00351-RGD-LRL Document 118-3 Filed 09/07/21 Page 2 of 5 PageID# 1937




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  NORFOLK DIVISION

  THE COLEMAN COMPANY, INC.,

                 Plaintiff/Counterclaim Defendant,      C.A. No: 2:20-cv-351-RGD
                 v.
                                                        JURY TRIAL DEMANDED
  TEAM WORLDWIDE CORPORATION,

                 Defendant/Counterclaim Plaintiff.




               COLEMAN’S FIRST SET OF REQUESTS FOR PRODUCTION
                 RELATING TO EXPERT DISCOVERY TO TWW (NO. 1)


         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure (“Federal Rules”)

  and the Rule 16(b) Scheduling Order entered in this proceeding (Dkt. No. 26), Plaintiff The

  Coleman Company, Inc. (“Coleman”), by and through its attorneys, hereby requests that

  Defendant Team Worldwide Corporation (“TWW”) respond to the following First Set of

  Requests for Production Relating to Expert Discovery (“Requests”) and produce within the same

  period of time all documents and things requested below for inspection and copying by

  Plaintiff’s Attorneys at the offices of Meunier Carlin and Curfman, LLC, 999 Peachtree Street,

  N.E., Suite 1300, Atlanta, Georgia 30309, within thirty (30) days of service hereof, or at such

  other time and place as agreed upon by the parties.




                                                  1
Case 2:20-cv-00351-RGD-LRL Document 118-3 Filed 09/07/21 Page 3 of 5 PageID# 1938




                              DEFINITIONS AND INSTRUCTIONS

         Coleman incorporates by reference those Definitions and Instructions contained in its

  First Set of Requests for Production served December 14, 2020. For avoidance of doubt,

  Coleman reiterates that the phrase “TWW Accused Products” means and includes any product

  that you have marketed or currently market, have sold or currently sell, have made or currently

  make, have imported or currently import, and/or have offered or currently offer for sale, that

  comprises an inflatable device with a top panel, bottom panel, at least one side panel, and an

  internal panel or beam attached to either the top panel or bottom. Such products include, but are

  not limited to, those products specifically identified by Coleman as practicing any claim of the

  ’618 patent, including as provided in response to TWW’s Interrogatory Request No. 4 (which

  may be supplemented throughout this case).


                                REQUESTS FOR PRODUCTION


  REQUEST NO. 1: Documents sufficient to show the revenues paid on matters in which Glen

  Stevick, Ph.D., P.E. has been retained as an expert witness by Team Worldwide Corporation

  ("TWW”) on an annual basis or by matter, since 2015.



  Dated: July 23, 2021                         MEUNIER CARLIN AND CURFMAN LLC

                                               /s/ David S. Moreland
                                               David S. Moreland (pro hac vice)
                                               John W. Harbin (pro hac vice)
                                               Warren J. Thomas (pro hac vice)
                                               Meunier Carlin & Curfman LLC
                                               999 Peachtree Street NE, Suite 1300
                                               Atlanta, Georgia 30309
                                               (404) 645-7700
                                               dmoreland@mcciplaw.com
                                               jharbin@mcciplaw.com

                                                  2
Case 2:20-cv-00351-RGD-LRL Document 118-3 Filed 09/07/21 Page 4 of 5 PageID# 1939




                                     wthomas@mcciplaw.com

                                     R. Braxton Hill, IV (VSB 41539)
                                     Michael W. Smith (VSB 01125)
                                     CHRISTIAN & BARON, LP
                                     909 East Main Street, Suite 1200
                                     Richmond Virginia 23219
                                     (804) 697-4100
                                     bhill@cblaw.com
                                     msmith@cblaw.com

                                     Attorneys for Plaintiff




                                        3
Case 2:20-cv-00351-RGD-LRL Document 118-3 Filed 09/07/21 Page 5 of 5 PageID# 1940




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                NORFOLK DIVISION

  THE COLEMAN COMPANY,

               Plaintiff/Counterclaim Defendant,   C.A. No: 2:20-cv-351-RGD
               v.
                                                   JURY TRIAL DEMANDED
  TEAM WORLDWIDE CORPORATION,

               Defendant/Counterclaim Plaintiff.



                               CERTIFICATE OF SERVICE
        I hereby certify that on July 23, 2021, I served the foregoing COLEMAN’S FIRST SET
  OF REQUESTS FOR PRODUCTION RELATING TO EXPERT DISCOVERY TO TWW
  (NO. 1) via electronic mail to the following record of counsel:

      William R. Poynter (VSB No. 48672)                     Korula Cherian
       David Sullivan (VSB No. 45027)                     RUYAKCHERIAN LLP
                 KALEO LEGAL                           1936 University Ave., Ste. 350
       4456 Corporation Lane, Suite 135                    Berkeley, CA 94702
           Virginia Beach, VA 23462                     Telephone: (510) 944-0190
             Phone: 757.238.6383                        sunnyc@ruyakcherian.com
               Fax: 757.304.6175
           wpoynter@kaleolegal.com                          J. Michael Woods
           dsullivan@kaleolegal.com                       Thomas Mark Dunham
                                                           RUYAKCHERIAN LLP
                                                        1901 L St. NW, Suite 700
                                                          Washington, DC 20036
                                                        Telephone: (202) 838-1560
                                                       michaelw@ruyakcherian.com
                                                         tomd@ruyakcherian.com




                                               /s/ David S. Moreland




                                               4
